                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA


 UNITED STATES OF AMERICA                               )
                                                        )               Case No. 1:12-cr-129
                                                        )
 v.                                                     )
                                                        )               Mattice / Lee
                                                        )
 RANDY GREENE                                           )


                             REPORT AND RECOMMENDATION

        Before the Court is what has been construed as a motion to reconsider the report and

 recommendation issued by the undersigned [Doc. 281] with respect to the motion to suppress filed

 by Defendant Randy Greene (“Defendant”) [Doc. 190] based on new evidence [Doc. 288]. Over the

 government’s objection, and for the reasons set forth in my prior order, the Defendant’s motion to

 introduce additional evidence in support of the motion to suppress was granted [Doc. 297].

 Thereafter, the parties stipulated to the following two facts as true evidence concerning Defendant’s

 motion to suppress:

                1. The second of the three police encounters between Defendant and
                Deputy Payne occurred on May 4, 2012. This is one hundred and sixty
                (160) days prior to the October 12, 2012 arrest that is the subject of
                Defendant’s motion to suppress.

                2. During that traffic stop and arrest, Defendant’s driver’s license was
                checked and found to be suspended.




Case 1:12-cr-00129-TRM-SKL            Document 346          Filed 09/09/13     Page 1 of 6     PageID
                                            #: 883
 [Doc. 320].1 These stipulated facts directly contradict the prior testimony of Deputy Drew Payne

 (“Payne”), which was relied upon in the original report and recommendation, concerning the lapse

 of time relevant to Payne’s suspicion that Defendant was driving on a suspended license on October

 12.

        In summary, Defendant argues evidence resulting from the traffic stop should be suppressed

 because Payne lacked reasonable suspicion supported by specific and articulable facts to make the

 stop. As stated in more detail in the original report and recommendation, which will not be repeated

 herein, Payne stopped Defendant on the night at issue solely because Payne believed Defendant was

 driving without a valid driver’s license based on his two prior evading arrest encounters with

 Defendant. However, during his testimony, Payne admitted he did not know whether Defendant had

 a valid driver’s license after the first evading arrest encounter in 2010 or 2011 [Doc. 305 at Page ID

 # 772]. For inexplicable reasons, the government continues to claim Payne knew Defendant’s

 license was suspended as a result of this first encounter [Doc. 334 at Page ID # 865 ¶ 1], even though

 Payne corrected his claim that he knew Defendant’s license was suspended as a result of the first

 encounter on cross examination as specifically noted in the prior report and recommendation [Doc.

 281 at Page ID # 628-29], which factual finding the government did not object to, but continues to

 ignore. Payne also admitted he did not know if Defendant got his license back [Doc. 305 at Page

 ID # 788].

        As pertinent here, during the second of Payne’s three encounters with Defendant, Defendant


        1
            As the parties chose to proceed by way of stipulation, the scheduled hearing date with
 respect to the new evidence was cancelled and, pursuant to the parties’ agreed schedule, Defendant
 filed a supplemental brief in support of his request for reconsideration based on the stipulated
 evidence [Doc. 330], and the government filed a supplemental response in opposition to the request
 [Doc. 334].

                                                   2


Case 1:12-cr-00129-TRM-SKL            Document 346        Filed 09/09/13       Page 2 of 6      PageID
                                            #: 884
 told Payne he fled because he did not have a driver’s license and Payne confirmed Defendant’s

 license was suspended. While Defendant was charged with evading arrest and driving on a

 suspended driver’s license, Payne had no knowledge regarding the outcome of these charges. Payne

 initially said this second arrest of Defendant took place a “month or so” prior to the stop at issue,

 then agreed in cross examination that this arrest was about 72 days prior, in approximately July or

 August 2012. As now stipulated, this arrest actually took place 160 days prior on May 4, 2012. The

 crux of Defendant’s argument is that this information is too stale to provide reasonable suspicion.

        The parties also stipulated that during the May traffic stop, Defendant’s driver’s license was

 checked and found to be suspended. While the words “suspended” and “revoked” are often used

 interchangeably, they have different meanings under Tennessee law:

                “Revocation of driver license” means the termination by formal
                action of the department of a person’s driver license or privilege to
                operate a motor vehicle on the public highways, which termination
                shall not be subject to renewal or restoration except that an
                application for a new license may be presented and acted upon by the
                department after the expiration of at least one (1) year after date of
                revocation.

                “Suspension of driver license” means the temporary withdrawal by
                formal action of the department of a person’s driver license or
                privilege to operate a motor vehicle on the public highways, which
                temporary withdrawal shall be for a period specifically designated by
                the department.

 State v. Goodson, 77 S.W.3d 240, 245 (Tenn. Crim. App. 2001) (quoting Tenn. Code Ann. §

 55-50-102(42), (47) (1998)). Payne did not testify regarding either his understanding of the actual

 terms of, or length of, the suspension of Defendant’s license or his understanding of suspensions in

 general.

        The government concedes Defendant was stopped solely because Payne thought Defendant


                                                  3


Case 1:12-cr-00129-TRM-SKL           Document 346         Filed 09/09/13      Page 3 of 6      PageID
                                           #: 885
 was driving on a suspended license. Defendant concedes the applicable standard in this case is one

 of reasonable suspicion, not probable cause. It is well-settled that reasonable suspicion exists where

 a law enforcement officer can articulate specific, particularized facts amounting to more than a hunch

 that criminal activity may be afoot when viewed in the totality of the circumstances. See United

 States v. Young, 707 F.3d 598, 604-05 (6th Cir. 2012).

        As noted in the prior report and recommendation, in addressing reasonable suspicion, courts

 place significance on the amount of time that passes between events due to the issue of staleness, and

 evidence of the correct date of the prior arrest is important in the context of the pending motion to

 suppress. Although there is no specific formula for determining how much time must pass before

 certain information becomes stale, courts have upheld stops for driving without a valid license based

 on the officer’s knowledge that the driver did not have a valid license 22 days before, United States

 v. Sandridge, 385 F.3d 1032, 1036 (6th Cir. 2004), and five months prior, United States v. Pierre,

 484 F.3d 75, 83-84 (1st Cir. 2007). On the other hand, courts have also found licensing evidence

 stale when it was acquired 22 weeks before, United States v. Laughrin, 438 F.3d 1245, 1248 (10th

 Cir. 2006), and three years prior, United States v. Bunton, No. 2:09-CR-106, 2010 WL 2082642, at

 *3 (E.D. Tenn. May 24, 2010).

        Payne had two prior encounters with Defendant, both of which involved a traffic stop that

 ended in Defendant’s arrest after he fled and wrecked his automobile. The second arrest occurred

 not some 30 or even 72 days prior to the stop at issue as sworn by Payne, but 160 days prior. While

 this is the only difference between the factual findings from the first report and recommendation to

 this one, it is a significant factual difference and merits a new recommendation. It is not necessary

 to further repeat the legal discussion and conclusions contained in the original report and


                                                   4


Case 1:12-cr-00129-TRM-SKL            Document 346        Filed 09/09/13       Page 4 of 6      PageID
                                            #: 886
 recommendation as the parties have presented no new cases for consideration. As previously noted,

 Pierre and Laughrin address an almost identical period of time, 152 days and 154 days, respectively;

 yet, the two cases reach different conclusions regarding staleness. As it turns out based on the new

 evidence, the window of time at issue in the instant matter is slightly greater than in either case.

        Payne’s information about the suspension of Defendant’s license was acquired first-hand,

 and it was the second time Defendant’s attempt to evade arrest ended in a crash, arguably making

 Payne’s encounters with Defendant memorable even though, as it turns out, Payne had no credible

 recall of the date of the prior encounter.2 While I continue to find Payne remembered in October that

 Defendant’s license was suspended at the time of their prior encounter, he clearly did not remember

 how long it had been since he last encountered and arrested Defendant. Absolutely no evidence was

 offered concerning what a reasonable officer would know about license suspensions in general.

 Payne admitted he did not know anything about the actual length of the suspension of Defendant’s

 license in particular [Doc. 305 at Page ID # 775-76]. It is undisputed that Payne took no steps to

 confirm or dispel his belief that Defendant’s license remained suspended prior to stopping

 Defendant.

        Reasonable suspicion exists where the specific and articulated facts amount to more than a

 hunch that criminal activity may be afoot when viewed in the totality of the circumstances. See

 Young, 707 F.3d at 604-05. While there is no rigid mathematical formula or bright line rule

 applicable to the staleness inquiry and staleness is not determined solely by age, the lapse of time

 is a factor. After considering the totality of the proven circumstances, and noting that “suspension”



        2
          Neither party sought a hearing in light of the stipulation nor requested an opportunity to
 question Payne about his inaccurate testimony during the suppression hearing.

                                                   5


Case 1:12-cr-00129-TRM-SKL            Document 346         Filed 09/09/13      Page 5 of 6      PageID
                                            #: 887
 of a license means the temporary withdrawal of the driver’s privilege to operate a motor vehicle, I

 CONCLUDE the government has not met its burden of proof to show Payne had a reasonable,

 articulable suspicion that criminal activity was afoot in October because Defendant was driving on

 a suspended license in May.3

        For the reasons stated above, I RECOMMEND that Defendant’s motion to suppress

 evidence resulting form the traffic stop [Doc. 190] be GRANTED.4


                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




        3
            In a footnote [Doc. 334 at Page ID # 866], the government claims that should the Court find
 Payne did not have reasonable suspicion to stop Defendant, suppression is not the appropriate
 remedy pursuant to Herring v. United States, 555 U.S. 135 (2009) (police conduct must be
 sufficiently deliberate such that exclusion could meaningfully deter it and sufficiently culpable that
 such deterrence is worth the price paid by the justice system). First, the government’s passing
 reference to a case in a footnote is insufficient to preserve the argument. “The case precedent in this
 circuit instructs courts to withhold judgment on issues not fully developed by the briefs or in the
 record . . . Issues adverted to in a perfunctory manner, unaccompanied by some effort at developed
 argumentation, are deemed waived. It is not sufficient for a party to mention a possible argument
 in the most skeletal way, leaving the court to . . . put flesh on its bones.” Popovich v. Cuyahoga
 County Court of Common Pleas, 276 F.3d 808, 823 (6th Cir. 2002) (internal quotations and citation
 omitted). Second, it appears Payne’s conduct was sufficiently deliberate that exclusion could deter
 it and sufficiently culpable that such deterrence may be worth the price paid.
        4
          Any objections to this report and recommendation must be served and filed within fourteen
 (14) days after service of a copy of this recommended disposition on the objecting party. Such
 objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of Criminal
 Procedure. Failure to file objections within the time specified waives the right to appeal the district
 court’s order. Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de
 novo review where objections to this report and recommendation are frivolous, conclusive and
 general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved
 for appellate review. Smith v. Detroit Fed'n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

                                                   6


Case 1:12-cr-00129-TRM-SKL            Document 346         Filed 09/09/13      Page 6 of 6       PageID
                                            #: 888
